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
                                 UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                      SAN FRANCISCO DIVISION

    HUAWEI TECHNOLOGIES CO., LTD., et al.,          CASE NO. 16-cv-02787-WHO

                          Plaintiffs,               SAMSUNG’S NOTICE OF MOTION
                                                 AND MOTION TO STRIKE
            v.                                      PORTIONS OF HUAWEI’S EXPERT
                                                 REPORTS
    SAMSUNG ELECTRONICS CO., LTD., et al.,
                                                 Hearing Date: August 8, 2018
                          Defendants.               Time: 2:00 p.m.
                                                 Place: Courtroom 2, 17th Floor
                                                    Judge: Hon. William H. Orrick
 SAMSUNG ELECTRONICS CO., LTD. &
    SAMSUNG ELECTRONICS AMERICA, INC.

                          Counterclaim-Plaintiffs,

            v.

    HUAWEI TECHNOLOGIES CO., LTD.,
 HUAWEI DEVICE USA, INC., HUAWEI
    TECHNOLOGIES USA, INC., & HISILICON
 TECHNOLOGIES CO., LTD.
                   Counterclaim-Defendants.



                                                               Case No. 16-cv-02787-WHO
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 1                              NOTICE OF MOTION AND MOTION
 2         PLEASE TAKE NOTICE that on August 8, 2018, at 2 P.M., Samsung Electronics Co., Ltd.

 3 and Samsung Electronics America, Inc. (collectively “Samsung”) shall and hereby do move the

 4 Court pursuant to Federal Rules of Civil Procedure 9 and 37, as well as Patent Local Rule 3-3, to

 5 strike portions of the expert reports submitted by Huawei Technologies Co., Ltd., Huawei Device

 6 USA, Inc., Huawei Technologies USA, Inc., and HiSilicon Technologies Co., Ltd. (collectively

 7 “Huawei”). This motion is based on this notice of motion and supporting memorandum of points

 8 and authorities, as well as such other written or oral argument as may be presented at or before the

 9 time this motion is deemed submitted by the Court.
10                                       RELIEF REQUESTED
11         Pursuant to Federal Rules of Civil Procedure 9 and 37 and Patent Local Rule 3-3, Samsung

12 seeks an order excluding the specific portions of Huawei’s expert reports identified in the

13 accompanying memorandum of points and authorities.

14

15 DATED: July 3, 2018                           Respectfully submitted,

16                                               QUINN EMANUEL URQUHART &
                                                 SULLIVAN, LLP
17

18                                          By        /s/ Victoria F. Maroulis
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22                                                  Samsung Electronics America, Inc., and Samsung
                                                    Research America, Inc.
23

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 1 I.        INTRODUCTION
 2           The Federal Rules of Civil Procedure and Local Patent Rules provide a variety of

 3 mechanisms—including pleadings, invalidity contentions, and contention interrogatories—that

 4 allow parties to ascertain the theories and arguments the opposing party plans to rely on at trial. By

 5 disclosing a number of arguments for the first time during expert discovery and, more specifically,

 6 in its expert rebuttal reports, Huawei has improperly deprived Samsung of the opportunity to

 7 consider and address those arguments. This Court should not allow Huawei’s tactics, and should

 8 strike the relevant portions of Huawei’s expert reports that were not properly pled or disclosed in a

 9 timely manner, as required by the Rules.1
10 II.       FACTUAL BACKGROUND
11           A.     Huawei’s Unpled Inequitable Conduct Defense For The ’105 Patent
12           On November 11, 2016, Huawei filed its answer and response to Samsung’s amended

13 counterclaims. (Dkts. 102-2, 102-3.) In its response, Huawei asserted that U.S. Patent No.

14 8,457,588 (“the ’588 patent”) is unenforceable due to inequitable conduct. (Dkt. 102-2 at 140-47.)

15 Huawei did not assert this defense for any other patent. (See id.)2

16           The defense of inequitable conduct must be pled with particularity. See Fed. R. Civ. P. 9(b).

17 While Huawei alleged inequitable conduct for the ’105 patent in its invalidity contentions, Huawei

18 never sought leave from the Court before the close of discovery to amend its answer and response
19 to include the defense. Therefore, Samsung assumed that Huawei was no longer pursuing the

20 defense.

21

22
         1
23        For the convenience of the Court, Exhibits B, D, G-N, and R-W show in highlighting the
   portions of the expert reports that should be stricken. Exhibits B, D, and G-N are the opening and
24 rebuttal expert reports of Dr. Mark Mahon (ʼ105 and ʼ130 patents), Dr. Thomas La Porta (ʼ825
   patent), Dr. Robert Akl (ʼ350 and ʼ419 patents), and Dr. Thomas Fuja (ʼ726 patent). Exhibits R-U
25
   are the opening reports of Dr. Venugopal V. Veeravalli (’239 and ’892 patents) and Dr. Robert
26 Akl (’587 and ’613 patents). Exhibits V-W are the rebuttal reports of Dr. Veeravalli (’892 patent)
   and Dr. Akl (’587 patent).
27
       2
          When the ’588 patent was stayed (see Dkt. 267), Samsung filed an amended case narrowing
28 statement removing the ’588 patent from this case. (See Dkt. 275 at 1.)

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 1          Notwithstanding Huawei’s failure to comply with Rule 9, Huawei’s technical expert, Dr.

 2 Mark Mahon, opined in his opening expert report that

 3                      . (See Ex. B at 169-71.) In order to avoid motion practice on this issue, Samsung

 4 repeatedly contacted Huawei’s counsel to obtain confirmation that Huawei will no longer pursue

 5 this defense. (See Ex. A (June 13 and 21, 2018 Emails from I. Lordgooei to Sidley Austin).) Huawei

 6 has not responded.

 7          B.      Huawei’s Undisclosed Invalidity Contentions For The ’825 Patent
 8          Pursuant to Patent L.R. 3-3, Huawei served its First Supplemental Invalidity Contentions on

 9 September 22, 2017. The Supplemental Invalidity Contentions included Huawei’s assertions that
10 U.S. Patent No. 9,288,825 (“the ’825 patent”) was invalid under 35 U.S.C. § 112 because certain

11 terms lacked written description, were not enabled, and/or were indefinite. (See Ex. C at 73, 80.)

12 After the close of fact discovery, Huawei’s invalidity expert opined on the ’825 patent and proffered

13 several additional reasons that were not disclosed in Huawei’s Supplemental Invalidity Contentions

14 as to why the ’825 patent is allegedly invalid under 35 U.S.C. § 112. Specifically, Huawei’s expert

15 argued that

16

17

18                                                                                                . (See
19 Ex. D at 173-77.) Huawei’s expert additionally contended that

20

21                                                                       . (Id. at 184-85.)

22          C.      Huawei’s Undisclosed Non-Infringing Alternatives And Non-Infringement
                    Contentions For All Of The Samsung Asserted Patents
23
            During fact discovery, Samsung served an interrogatory asking Huawei to identify any non-
24
     infringing alternatives to the Samsung Patents-in-Suit. (See Ex. E at 30-31 (Interrogatory No. 14).)
25
     In response, Huawei stated                                                                 (Ex. E at
26
     31), yet its final response consisted of nothing more than the rote statement that
27
                                                                                                    (Id.)
28

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 1 Huawei also asserted, without elaboration, that

 2

 3                                                               (Id.)

 4          Although Huawei bore the burden of proving non-infringing alternatives, Huawei did not

 5 identify any in its opening expert reports. (See Ex. B at 2-7; Ex. D at 2-3; Ex. G at 2-8; Ex. H at 2-

 6 3; Ex. I at 2-4.) It was not until Huawei’s rebuttal expert reports—once Samsung no longer had an

 7 opportunity to respond—that Huawei finally disclosed its alleged non-infringing alternatives. (See

 8 Ex. J at 54-55 (’105 patent); Ex. K at 125-28 (’825 patent); Ex. L at 95 (U.S. Patent No. 8,509,350

 9 (“the ’350 patent”)); Ex. M at 43-47 (U.S. Patent No. 8,761,130 (“the ’130 patent”)); Ex. N at 88-
10 89 (U.S. Patent No. 8,619,726 (“the ’726 patent”)).) None of these alternatives was disclosed in

11 response to Interrogatory No. 14.

12          D.      Huawei’s Undisclosed Non-Infringing Alternatives For The Huawei Asserted
                    Patents
13
            Relatedly, Samsung served a separate interrogatory, Interrogatory No. 35, asking Huawei to
14
     describe in detail any “design-around alternatives” to the technology claimed in the patents Huawei
15
     is asserting against Samsung. (Ex. O at 2.) Huawei only responded to this interrogatory three weeks
16
     after the close of fact discovery with the following generic response:
17

18
19

20
     (Ex. P at 22.) Instead of identifying any specific design-around alternatives, Huawei generally
21
     referred to its response to Samsung’s Interrogatory No. 20, even though Huawei disclosed no
22
     alternatives in response to Interrogatory No. 20. (See Ex. Q at 18-19.) Although Huawei’s response
23
     to Interrogatory No. 20 mentions potential alternatives for the ʼ613 and ʼ587 patents, none of those
24
     alternatives were analyzed in any detail. (See id. at 22-23, 25-26.) Less than one month later,
25
     Huawei’s experts discussed purported non-infringing alternatives for each of the Huawei Patents-
26
     in-Suit in their respective opening infringement expert reports. (See Ex. R ¶¶ 537-45 (’239 patent);
27

28

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 1 Ex. S at ¶¶ 481-500 (’892 patent); Ex. T at ¶¶ 296-309 (’587 patent); Ex. U at ¶¶ 279-84 (’613

 2 patent).) None of these alternatives were disclosed in response to Interrogatory No. 35.

 3          E.       Huawei’s Undisclosed Non-Infringement Contentions For The Samsung
                     Asserted Patents
 4
            During fact discovery, Samsung served an interrogatory asking Huawei to identify non-
 5
     infringement theories for the Samsung Patents-in-Suit. (See Ex. F at 53-64 (Interrogatory No. 28).)
 6
     Huawei initially responded in boilerplate fashion with
 7

 8

 9
           . (See id. at 54-64.) In a joint letter brief submitted to the Court, Samsung sought to compel
10
     Huawei’s actual non-infringement theories, noting that Huawei’s response had impermissibly
11
     withheld Huawei’s “factual and legal contentions” on this issue, significantly prejudiced Samsung,
12
     and contravened settled law in this District requiring parties to furnish complete responses to
13
     contention interrogatories. (See Dkt. 258-3 at 1-3 & n.1.) Indeed, Samsung’s own response to a
14
     mirror interrogatory served by Huawei contained far more substantive details, putting Huawei on
15
     notice of its non-infringement theories.    (See Dkt. 258-10 at 231-266.) During the parties’
16
     subsequent meet and confers, Huawei agreed to supplement its response to Interrogatory No. 28.
17
     (See Dkt. 274; Ex. F at 64
18
                                                                                                       .)
19
     Huawei’s supplemental response included a list of what Huawei portrayed as non-infringement
20
     arguments for each of the Samsung Patents-in-Suit. (See Ex. F at 64-83.)
21
            In its rebuttal expert reports, Huawei for the first time included several additional non-
22
     infringement arguments absent from its supplemental response to Interrogatory No. 28.            In
23
     particular, Huawei’s experts advanced the following non-infringement arguments not disclosed in
24
     response to Interrogatory No. 28, or at any point during fact discovery:
25
                    For the ’105 patent:
26
27

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 1

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 5                                                              ;

 6                  For the ’350 patent:
 7

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17                  For the ’130 patent:
18                                                                  (see Ex. M at 40-41).
19                  For the ’726 patent:
20                              (see Ex. N at 76-81).

21          None of these theories was disclosed in response to Interrogatory No. 28.

22          F.       Huawei’s Omission Of Priority Dates For The ʼ587 And ʼ892 Patents In Its
                     Opening Expert Reports
23
            As the party asserting infringement of the ʼ587 and ʼ892 patents, Huawei bears the burden
24
     of demonstrating that both patents are entitled to specific priority dates. Yet, both of the opening
25
     expert reports analyzing the infringement of the ʼ587 and ʼ892 patents, respectively, are bereft of
26
     any discussion of the priority date each patent is entitled to. (See Ex. S at ii-iii; Ex. T at ii-v.) In
27
     the rebuttal validity reports assessing the same patents, however, both experts opined that the ʼ587
28

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 1 and ʼ892 patents are entitled to specific priority dates that were not discussed in either of the opening

 2 reports. (See Ex. V ¶¶ 62-65; Ex. W ¶¶ 59-77.)

 3          G.      Huawei’s Undisclosed Doctrine Of Equivalents Argument For The ʼ239 Patent
 4          In the infringement contentions Huawei served for the ʼ239 patent, Huawei did not invoke

 5 the doctrine of equivalents in the corresponding claim chart, and the only reference to the doctrine

 6 of equivalents was boilerplate language in the accompanying cover pleading: “To the extent any

 7 limitation is found or alleged not to be literally present . . . Huawei then asserts that, if any

 8 differences between the claim elements and the accused systems and methods are found to exist,

 9 such differences are insubstantial and the accused systems and methods thus infringe under the
10 doctrine of equivalents.” (Ex. X at 8.) Subsequently, Huawei did not make any attempt to amend

11 its infringement contentions to assert infringement under the doctrine of equivalents. Nevertheless,

12 the opening expert report asserting that the ʼ239 patent is infringed includes the opinion

13                                                                      under the doctrine of equivalents.

14 (Ex. R at ¶¶ 254, 271, 282, 318, 338, 370.)

15 III.     APPLICABLE LAW
16          It is well-settled that under Fed. R. Civ. P. 9(b), inequitable conduct must be “pled with

17 particularity.” Exergen Corp. v. Wal-Mart Stores, Inc., 575 F.3d 1312, 1326 (Fed. Cir. 2009). This

18 requires identification of the “specific who, what, when, where, and how of the material
19 misrepresentation or omission committed before the PTO.” Id. at 1327. It is equally axiomatic that

20 a failure to “affirmatively set forth [a] defense” such as inequitable conduct in a responsive pleading

21 effectuates a “waiver.” Morrison v. Mahoney, 399 F.3d 1042, 1046 (9th Cir. 2005). Courts thus

22 routinely strike theories of inequitable conduct that are not specifically pled, even if they appear in

23 other discovery responses. See CSB-System Int’l Inc. v. SAP Am. Inc., No. 10-2156, 2012 WL

24 1645582, at *6 (E.D. Pa. May 10, 2012) (“[E]ven assuming arguendo that such discovery responses

25 could conceivably be construed to alert Plaintiff to Defendant’s new contention . . . [of] inequitable
26 conduct, Defendant failed to amend its Answer and Counterclaims to set forth this new theory. As
27 set forth above, inequitable conduct, while a broader concept tha[n] fraud, must be pled with

28 particularity.” (emphasis in original) (internal quotation marks and citations omitted)); see also Am.

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 1 Med. Sys., Inc. v. Laser Peripherals, LLC, 712 F. Supp. 2d 885, 920-21 (D. Minn. 2010) (“LP fails

 2 to explain why, if it was aware of Figure 23’s significance when serving its Prior Art Statement in

 3 May 2009, it did not move to amend its Amended Answer and Counterclaim to include Figure 23

 4 in its inequitable conduct allegations.”); On-Track Innovations Ltd. v. T-Mobile USA, Inc., 106 F.

 5 Supp. 3d 369, 405 (S.D.N.Y. 2005) (“[T]his theory of inequitable conduct appears nowhere in the[]

 6 answer and counterclaim. This alone is a sufficient basis for dismissal.” (emphasis in original)

 7 (internal citation omitted)).

 8           Further, this District’s Patent Local Rules “require parties to crystallize their theories of the

 9 case early in the litigation and adhere to those theories once they have been disclosed.” MediaTek,
10 Inc. v. Freescale Semiconductor, Inc., No. 11-cv-5341 YGR, 2014 WL 690161, at *1 (N.D. Cal.

11 Feb. 21, 2014) (internal quotation marks and citations omitted). “Any invalidity theories not

12 disclosed pursuant to Local Rule 3-3 are barred, accordingly, from presentation at trial (whether

13 through expert opinion testimony or otherwise).” Id. This mandate extends to written description

14 theories, which must be described in invalidity contentions such that they give “the other party

15 sufficient notice for it to engage in meaningful discovery and preparation of its case.” Id. at *6; see

16 also ASUS Computer Int’l v. Round Rock Research, LLC, No. 12-cv-02099 JST (NC), 2014 WL

17 1463609, at *1 (N.D. Cal. Apr. 11, 2014) (“[A] party may not use an expert report to introduce . . .

18 new invalidity theories . . . not disclosed in the parties’ . . . invalidity contentions.”).
19           Similarly, infringement contentions must describe “[w]hether each limitation of each

20 asserted claim is alleged to be literally present or present under the doctrine of equivalents.” Patent

21 L.R. 3-1(e). The rule mandates a “a limitation-by-limitation analysis, not a boilerplate reservation.”

22 Rambus Inc. v. Hynix Semiconductor Inc., No. C-05-00334 RMW, 2008 WL 5411564, at *3 (N.D.

23 Cal. Dec. 29, 2008). Accordingly, when litigants attempt to assert infringement under the doctrine

24 of equivalents based solely on boilerplate recitations, those theories are stricken. See, e.g., ASUS

25 Computer Int’l v. Round Rock Research, LLC, No. 12-CV-02099 JST (NC), 2014 WL 1463609, at
26 *3 (N.D. Cal. Apr. 11, 2014); Dynetix Design Sols., Inc. v. Synopsys, Inc., No. C 11-5973 PSG,
27 2013 WL 4537838, at *1 (N.D. Cal. Aug. 22, 2013).

28

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 1          The Federal Circuit has recognized that “[c]ontention interrogatories . . . serve an important

 2 purpose in helping to discover facts supporting the theories of the parties. Answers to contention

 3 interrogatories also serve to narrow and sharpen the issues thereby confining discovery and

 4 simplifying trial preparation.” Woods v. DeAngelo Marine Exhaust, Inc., 692 F.3d 1272, 1280 (Fed.

 5 Cir. 2012). Additionally, parties have a continuing obligation to supplement or correct responses to

 6 interrogatories. See Fed. R. Civ. P. 26(e). Accordingly, failure to include information responsive

 7 to an interrogatory results in the sanction of exclusion; “the party is not allowed to use that

 8 information . . . to supply evidence on a motion, at a hearing, or at a trial, unless the failure was

 9 substantially justified or harmless.” Fed. R. Civ. P. 37(c)(1); see also Woods, 692 F.3d at 1282
10 (“Having properly found that [the] failure to supplement its interrogatory response was a violation

11 of Rule 26(e), the district court was well within its discretion in excluding the drawings under

12 Federal Rule of Civil Procedure 37(c).”); Apple, Inc. v. Samsung Elecs. Co., Ltd., No. 11-cv-01846-

13 LHK, 2012 WL 3155574, at *4 (N.D. Cal. Aug. 2, 2012) (“Rule 37 mandates that a party’s failure

14 to comply with the obligations under Federal Rule of Civil Procedure 26(e)(1) results in that party

15 being precluded from use [of] that information . . . .” (alteration in original) (internal quotation

16 marks and citations omitted)). Thus “exclusion is an appropriate remedy for failing to fulfill the

17 required disclosure requirements of Rule 26(a).” Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259

18 F.3d 1101, 1106 (9th Cir. 2001).
19          Moreover, an accused infringer bears the burden of proof to demonstrate the “availability of

20 its posited non-infringing alternatives” to the asserted patents. EMC Corp. v. Pure Storage, Inc.,

21 154 F. Supp. 3d 81, 117 (D. Del. 2016) (citing Grain Processing Corp. v. Am. Maize-Prods Co.,

22 185 F.3d 1341, 1353 (Fed Cir. 1999)). Thus, any theories regarding alleged alternatives should be

23 presented in the party’s opening expert report. Moreover, when non-infringing alternatives are

24 omitted from opening expert reports and introduced for the first time in rebuttal reports, the resulting

25 prejudice is substantial, warranting exclusion of the belated discussions of non-infringing
26 alternatives. See Ericsson Inc. v. TCL Comm’cn Tech. Holdings, Ltd., No. 2:15-cv-00011-RSP,
27 2017 WL 5137401, at *14 (E.D. Tex. Nov. 4, 2017); Smart Skins LLC v. Microsoft Corp., No. C-

28 15-544-MJP, 2016 WL 4148091, at *2 (W.D. Wash. July 1, 2016).

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 1           Finally, the Federal Rules require all expert testimony to be disclosed in a written report that

 2 contains “a complete statement of all opinions the witness will express and the basis and reasons for

 3 them.” Fed. R. Civ. P. 26(a)(2)(B)(i). Opening expert reports therefore must include the expert’s

 4 opinions on all matters for which his or her represented party bears the burden of proof. See id.

 5 “The purpose of the expert disclosure rule is to provide opposing parties reasonable opportunity to

 6 prepare for effective cross examination and perhaps arrange for expert testimony from other

 7 witnesses.” Rembrandt Vision Techs., L.P. v. Johnson & Johnson Vision Care, Inc., 725 F.3d 1377,

 8 1381 (Fed. Cir. 2013) (internal quotations omitted). Rebuttal expert reports are reserved for

 9 “evidence [that] is intended solely to contradict or rebut evidence on the same subject matter
10 identified by another party.” Fed. R. Civ. P. 26(a)(2)(D)(ii). In a patent infringement action, once

11 the alleged infringer puts forth sufficient evidence to show that anticipating prior art exists, the

12 burden then shifts to the party asserting infringement to either prove that the prior art does not

13 actually anticipate, or that the patent being asserted is entitled to claim priority to an earlier filing

14 date. Tech. Licensing Corp. v. Videotek, Inc., 545 F.3d 1316, 1327 (Fed. Cir. 2008); see also

15 PowerOasis, Inc. v. T-Mobile USA, Inc., 522 F.3d 1299, 1305-06 (Fed. Cir. 2008).

16 IV.       ARGUMENT
17           A.     Huawei’s Unpled Inequitable Conduct Defense For Samsung’s ʼ105 Patent
                    Should Be Stricken
18
             Simply put, because Huawei did not plead inequitable conduct as to the ʼ105 patent, the
19
     defense is not in the case. This is not a case where Huawei failed to plead the defense with
20
     particularity. Rather, inequitable conduct was not pled at all. Therefore, Huawei has no colorable
21
     argument that it can proceed with this defense at trial.3
22
             Failure to plead a defense is, by itself, a “sufficient basis for dismissal.” On-Track, 106 F.
23
     Supp. 3d at 405; see also CSB-System, 2012 WL 1645582, at *6 (“Defendant failed to amend its
24

25
         3
26      Samsung has separately moved for summary judgment of no inequitable conduct because
   Huawei and its expert have failed to present any evidence, whether direct or circumstantial, to
27 show any specific intent to deceive the USPTO by Samsung or the inventor of the ’105 patent.
   Thus, not only has Huawei failed to plead inequitable conduct, it has also failed to gather enough
28 evidence to proceed to trial on the defense.

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 1 Answer and Counterclaims to set forth this new theory.”). Accordingly, since Huawei never moved

 2 to amend its Answer and Counterclaims to plead inequitable conduct, it is immaterial that Huawei

 3 alluded to it in other discovery responses (e.g., its invalidity contentions). Should Huawei move at

 4 this late date to amend its Answer and Counterclaims, that request should be denied given that

 5 discovery has completely closed and trial is fast-approaching. See CSB-System, 2012 WL 1645582,

 6 at *6 n.6 (“Nor would this Court grant any motion for leave to amend filed by Defendant at this

 7 point . . . . Any attempt to do so at this juncture would be denied on the grounds of . . . undue

 8 prejudice, and undue delay . . . .”). Samsung would be unduly prejudiced if Huawei were to add the

 9 defense after the close of both fact and expert discovery.
10          Accordingly, Samsung requests that paragraphs 442-446 of Dr. Mahon’s opening report for

11 the ’105 patent (Ex. B at 169-171) be stricken.

12          B.      Huawei’s Undisclosed Invalidity Contentions For Samsung’s ’825 Patent
                    Should be Stricken
13
            Although Huawei disclosed a limited number of invalidity arguments based on 35 U.S.C. §
14
     112 in its Supplemental Invalidity Contentions, it advanced a number of additional arguments in its
15
     opening expert report that have no basis in its Invalidity Contentions. Accordingly, Huawei has
16
     failed to provide the requisite “sufficient notice” to Samsung as to these arguments, all of which
17
     should thus be stricken. MediaTek, Inc., 2014 WL 690161, at *6.
18
            On page 173 of his opening expert report, Huawei’s expert
19

20

21
                                               (Ex. D at 173-174.) But the words “signal generator” do
22
     not even appear in the sections of Huawei’s Supplemental Invalidity Contentions devoted to the
23
     written description and enablement arguments germane to the ’825 patent. (Ex. C at 73, 80.)
24
            Similarly, on page 175 of the opening expert report,
25
26
27
                       (Ex. D at 175
28

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 1                                                  .)   Again, the applicable sections of Huawei’s

 2 Supplemental Invalidity Contentions are devoid of any discussion of this term, or any written

 3 description argument based on the claimed “downlink signal processor.” (Ex. C at 73, 80.)

 4          The same is true of the argument that

 5

 6

 7

 8                                                                          (Ex. D at 176-177.) Although

 9 Huawei mentions the term “predetermined delay duration” in its Supplemental Invalidity
10 contentions, it does so in wholly conclusory fashion: “The phrases ‘predetermined delay duration,’

11 ‘without checking the downlink channel,’ ‘valid period,’ ‘UE-ID,’ and ‘equal to’ as found in claims

12 1 and 4 of the ’825 patent cause these claims to be invalid for indefiniteness [under 35 U.S.C. § 112,

13 Second Paragraph].” (Ex. C at 80.) There are two distinct deficiencies in this disclosure. First, the

14 excerpted portion of Huawei’s Invalidity Contentions is a definiteness argument (35 U.S.C. § 112,

15 Second Paragraph), while Huawei’s expert analyzed

16                                                                                        , which Huawei

17 treated differently; indeed,

18 (See Ex. D at 176-177; 179-180.) Second, and more importantly, the disclosure does not meet the
19 “threshold of . . . sufficient notice.” Mediatek, 2014 WL 690161, at *6. Huawei’s Supplemental

20 Invalidity Contentions fail “to explain in even the most basic terms why [it] contends that the” term

21 predetermined delay duration is indefinite. Id.; see also Finjan, Inc. v. Proofpoint, Inc., No. 13-cv-

22 05808-HSG, 2015 WL 9460295, at *3 (N.D. Cal. Dec. 23, 2015) (“Because Defendants failed to

23 previously disclose these theories, the Court strikes them from the expert report and precludes the

24 expert from relying on them in trial.”). Finally, Huawei waived the argument that the term

25 “predetermined delay duration” is indefinite by failing to raise it in their claim construction briefing
26 or at the Markman hearing, when the Court expressly considered the term. Edgewell Personal Care
27 Brands, LLC v. Albaad Massuot Yitzhak, Ltd., No. 15-1188-RGA, 2017 WL 19007362017, slip op.

28 at 4 (D. Del. May 9, 2017) (finding an indefiniteness claim construction argument is waived when

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 1 it is not timely briefed); Silver State Intellectual Technologies, Inc. v. Garmin Intern., Inc., 32 F.

 2 Supp. 3d 1155, 1160, 1166 (D. Nev. 2014) (granting motion to strike untimely contentions under

 3 35 U.S.C. § 112 for failure to address them during claim construction).

 4          Huawei’s expert also offers opinions that

 5

 6                                                                             . (Ex. D at 185.) However,

 7 again, these opinions are nowhere to be found in Huawei’s Supplemental Invalidity Contentions.

 8 Indeed, none of these terms appears anywhere in the laundry list of terms Huawei claimed were

 9 indefinite in its contentions. (See Ex. C at 80.)
10          Accordingly, Samsung requests that the following portions of the Dr. La Porta’s opening

11 report for the ’825 patent (Ex. D) be stricken:

12                    Paragraphs 478-485 and 489 on pages 173-79;
13                    Paragraphs 499-501 on pages 185-86.
14          C.      Huawei’s Undisclosed Non-Infringing Alternatives For The Samsung Patents-
                    in-Suit Should Be Stricken
15
            On September 2, 2016, Huawei responded to Samsung’s Interrogatory No. 14, which sought,
16
     in pertinent part, “any alleged design-around or alternative technology or method” “for each of the
17
     Samsung Patents-in-Suit,” by objecting to the Interrogatory as “premature.” (Ex. E at 30-31.) In
18
     its response, Huawei stated it “will respond to this interrogatory at an appropriate time after serving
19
     its Answer or other response.” (Id.) Even after a year-and-a-half of discovery, Huawei never
20
     meaningfully supplemented its response. Instead, at the close of fact discovery, Huawei stated it
21
     would “disclose its experts’ opinions in accordance with the expert discovery schedule,” and only
22
     identified the functionality of its own products, without explanation, as a “design-around” while
23
     also adding a reference to “deposition testimony.” (Id. at 31.) In each of its non-infringement expert
24
     rebuttal reports, however, Huawei identified what it perceives to be non-infringing alternatives to
25
     each of the Samsung Patents-in-Suit—none of which were disclosed in response to Interrogatory
26
     No. 14 or at any point during fact discovery. See Ex. J at 54-55 (’105 patent); Ex. K at 125-28 (’825
27
     patent); Ex. L at 95 (’350 patent); Ex. M at 43-47 (’130 patent); Ex. N at 88-89 (’726 patent).)
28

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 1 Because Huawei “violated its obligations pursuant to Fed. R. Civ. P. 26(e)(1),” Samsung’s “motion

 2 to strike and exclude evidence . . . [should be] granted.” Synthes USA, LLC v. Spinal Kinetics, Inc.,

 3 No. C-09-01201 RMW, 2011 WL 11709387, at *7-*8 (N.D. Cal. Aug. 19, 2011).

 4          As non-compliance with its discovery obligations is evident, the “burden is on” Huawei “to

 5 demonstrate that it meets one of the two exceptions to mandatory sanctions”: (1) the failure was

 6 substantially justified; or (2) the failure was harmless. Apple, 2012 WL 3155574, at *4. Huawei

 7 cannot discharge its burden on either score. First, the non-infringing alternatives Huawei identified

 8 in its rebuttal expert reports are all based on materials accessible to Huawei throughout fact

 9 discovery, including
10              . (See, e.g.,

11

12

13

14

15                                                                             .) No rationale justifies

16 Huawei’s withholding of this information, which was readily available throughout fact discovery.

17          The ensuing prejudice to Samsung, meanwhile, is substantial. Critically, Huawei not only

18 omitted this information from its interrogatory responses, it also did not identify a single non-
19 infringing alternative in its opening expert reports. Thus Huawei hid the ball until Samsung no

20 longer had an opportunity to respond, thereby robbing Samsung of an opportunity to address these

21 issues in its rebuttal expert reports. As the “accused infringer,” Huawei bore the burden of showing

22 that any non-infringing alternative was “available during the accounting period” and therefore

23 should have addressed this issue in its opening expert reports. Grain Processing Corp., 185 F.3d at

24 1353.     By waiting until serving its rebuttal reports to identify the asserted non-infringing

25 alternatives, Huawei stripped Samsung of any opportunity to respond, exacerbating the prejudice
26 that has occurred. See Smart Skins, 2016 WL 4148091, at *2 (“The relevant case law establishes
27 that Microsoft, the alleged infringer, has the burden of showing that non-infringing alternatives were

28 both available to it and were acceptable to its customers during the damages period . . . . Therefore,

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 1 Microsoft should have disclosed expert testimony regarding the non-infringing alternatives at issue

 2 in its opening expert reports, but failed to do so . . . . Accordingly, the Court strikes Microsoft’s

 3 evidence of non-infringing alternatives presented in its experts’ rebuttal reports . . . .”); see also

 4 Ericsson Inc., 2017 WL 5137401, at *14 (“TCL’s disclosure of the new theory in its rebuttal expert

 5 reports, after the close of fact and expert discovery, is too late to cure the prejudice.”); Precision

 6 Fabrics Grp. v. Tietex Int’l Ltd., 297 F. Supp. 3d 547, 560 (D. S.C. 2018) (“At this late stage in the

 7 litigation, PFG has limited ability to cure the surprise arising from this violation.”).

 8          Accordingly, Samsung requests that the following non-infringing alternative opinions in

 9 Huawei’s rebuttal expert reports be stricken:
10                  The last sentence of paragraph 11, and paragraphs 149-157 (pp. 3 and 54-55) of the
11                   “Rebuttal Expert Report of Dr. Mark Mahon, Ph.D. Regarding Non-Infringement of

12                   U.S. Patent No. RE44,105” (Ex. J);

13                  Paragraphs 35 and 265-270 (pp. 18 and 125-128) of the “Expert Report of Dr.
14                   Thomas La Porta Regarding Non-Infringement of U.S. Patent No. 9,288,825” (Ex.

15                   K);

16                  The last sentence of paragraph 20, and paragraphs 263-266 (pp. 6 and 95) of the
17                   “Rebuttal Expert Report of Dr. Robert Akl, D. Sc., Regarding Non-Infringement of

18                   U.S. Patent Nos. 8,509,350 and 9,113,419” (Ex. L);
19                  Paragraphs 10 and 137-140 (pp. 6 and 43-47) of the “Expert Report of Dr. Mark P.
20                   Mahon Regarding Non-Infringement of U.S. Patent No. 8,761,130” (Ex. M);

21                  Paragraphs 41 and 228-230 (pp. 15 and 88-89) of the “Expert Report of Dr. Thomas
22                   Fuja Regarding Non-Infringement of U.S. Patent No. 8,619,726” (Ex. N).

23          D.       Huawei’s Undisclosed Non-Infringement Theories For Samsung’s ʼ105, ʼ350,
                     ʼ130, And ʼ726 Patents Should Be Stricken
24
            Throughout fact discovery in this case, Huawei failed to identify its substantive non-
25
     infringement theories in response to Samsung’s interrogatories—namely, Interrogatory No. 28.
26
     After Samsung filed a motion to compel a response to Interrogatory No. 28, the parties were ordered
27
     to meet and confer, and Huawei eventually agreed to provide a supplemental interrogatory response
28

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 1 disclosing its non-infringement theories. During the parties’ meet and confer, Samsung warned

 2 Huawei that it would seek to strike and preclude any non-infringement theories not disclosed in

 3 response to Interrogatory No. 28, and specifically noted the prejudice that would arise if Huawei

 4 presented its theories for the first time in rebuttal expert reports. (See Dkt. 274; see also Lordgooei

 5 Decl. ¶ 2.) Huawei agreed to supplement (see, e.g., Ex. F at 64), and, for this reason, the parties

 6 agreed they had “resolved the discovery disputes identified in the parties’ letter briefs.” (Dkt. 274

 7 at 1.) Nevertheless, Huawei still proceeded to identify several new, previously undisclosed non-

 8 infringement theories in its expert rebuttal reports that were not identified in its supplemental

 9 interrogatory response.
10          With respect to the ʼ105 patent, Huawei’s expert contends that

11

12                  (Ex. J at 29.) This argument is nowhere to be found in Huawei’s supplemental

13 response to Interrogatory No. 28, and is specifically omitted from Huawei’s discussion, in its

14 supplemental response, of the two particular claim limitations that its expert relies on. (Compare

15 Ex. F at 73-74, with Ex. J at 29-34.) Huawei also failed to present the argument, in its supplemental

16 response, that claim 28 is purportedly not infringed because

17

18                     (Ex. J at 38; see also Ex. F at 74.) Additionally, Huawei’s rebuttal report also
19 contends for the first time that claim 32 is not infringed because

20                                                                            (Ex. J at 47; see also Ex. F

21 at 76.) All three previously undisclosed theories should be stricken.

22          As for the ʼ350 patent, Huawei’s non-infringement argument that

23                                                                                                 (Ex. L

24 at 53-59) should be precluded. Huawei does not mention or address this claim limitation (the

25 preamble) in its response to Interrogatory No. 28. (See Ex. F at 78-80.) Moreover, this new non-
26 infringement theory is based on an entirely new claim construction theory that the preamble of the
27 claim is limiting. (See Dkt. 124-3, Ex. C at 10-25 (failing to identify the preamble as a claim

28 construction issue)). Further, Huawei

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 1                                         (Ex. F at 78), but Huawei’s expert makes an entirely different

 2 argument in his rebuttal report that is distinct from what Huawei disclosed during fact discovery. In

 3 its interrogatory response, Huawei argued that

 4

 5                                                                                   (Id.) In its rebuttal

 6 report, however, Huawei’s expert contends

 7                                                                                         (Ex. L at 61.)

 8 This is an entirely different argument. Huawei also never disclosed during fact discovery its theory

 9 that
10                                                                             (Ex. L at 63-64; see also

11 Ex. F at 78.) Finally, Huawei also failed to disclose its theory that

12

13                                                           . (Ex. L at 69-72; Ex. F at 78-79.) The

14                                                                                     were available to

15 Huawei throughout fact discovery. Indeed, all of the evidence that allegedly supports Huawei’s

16 theories were available during fact discovery. Huawei should therefore be precluded from relying

17 on all four newly-disclosed theories.

18          For the ʼ130 patent, Huawei’s non-infringement theories in its interrogatory response span
19 only two pages and consist of only three arguments made in separate bullet points. (See Ex. F at

20 72-73.) None of these bullet points mentioned                                          , which forms

21 the basis for the fourth rebuttal argument made by Huawei’s expert. (See Ex. M at 41

22

23                                                                              .) This newly-disclosed

24 argument should thus be stricken.

25          For the ʼ726 patent, Huawei’s interrogatory response contended that Samsung failed to
26 identify
27                (Ex. F at 65.) The same assertion, however, was not made regarding the claimed

28                                                                                       (Ex. N at 76.)

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 1 Huawei’s expert nonetheless opines on this latter limitation, making the argument that

 2

 3                  . (See id. at 76-81.) Since Huawei did not address this limitation in any manner in

 4 its responses to Interrogatory No. 28, it cannot now make this eleventh-hour argument.

 5          As with the newly-disclosed non-infringing alternatives in its expert rebuttal reports,

 6 Huawei’s previously undisclosed non-infringement theories should also be stricken because

 7 Huawei’s failure to disclose them was not substantially justified or harmless. Notwithstanding the

 8 fact that Huawei should have already disclosed all of its non-infringement theories during fact

 9 discovery (as Samsung did), Huawei nevertheless specifically committed to identifying its non-
10 infringement theories in a supplemental response to Interrogatory No. 28 in response to Samsung’s

11 motion to compel. It did so with the warning that Samsung would seek to preclude any theories not

12 disclosed in the interrogatory responses. (See Lordgooei Decl. ¶ 2.) Accordingly, it is inexplicable

13 why Huawei’s supplementation did not contain every non-infringement theory relied upon by its

14 experts. Huawei’s delay in presenting these theories “impeded [Samsung’s] ability to conduct fact

15 discovery on the undisclosed theories,” inflicting significant harm on Samsung. Apple, 2012 WL

16 3155574, at *5. Indeed, the prejudice here is compounded because each of these theories appeared

17 in Huawei’s rebuttal expert reports, ensuring that none of Samsung’s experts would have an

18 opportunity to opine on the weaknesses and contours of each undisclosed theory. In short, Huawei
19 has impaired Samsung’s ability “to put on its case,” an error that is not “substantially justified or

20 harmless.” Woods, 692 F.3d at 1282. Huawei’s gamesmanship should not be rewarded.

21          Accordingly, Samsung requests that the following portions of Huawei’s rebuttal expert

22 reports be stricken:

23                 Paragraphs 73-88 (pp. 29-34), 103-121 (pp. 38-46), and 125-132 (pp. 47-50) of the
24                  “Rebuttal Expert Report of Dr. Mark Mahon, Ph.D. Regarding Non-Infringement of

25                  U.S. Patent No. RE44,105” (Ex. J);
26                 Paragraphs 128-145 (pp. 53-59), 148-155 (pp. 60-63), 159-164 (pp. 63-65), and 175-
27                  182 (pp. 69-72) of the “Rebuttal Expert Report of Dr. Robert Akl, D. Sc. Regarding

28                  Non-Infringement of U.S. Patent Nos. 8,509,350 and 8,113,419” (Ex. L);

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 1                  Paragraphs 123-128 (pp. 40-41) of the “Expert Report of Dr. Mark P. Mahon
 2                   Regarding Non-Infringement of U.S. Patent No. 8,761,130” (Ex. M); and

 3                  Paragraphs 199-212 (pp. 76-81) of the “Expert Report of Dr. Thomas E. Fuja
 4                   Regarding Non-Infringement of U.S. Patent No. 8,619,726” (Ex. N).

 5          E.       Huawei’s Undisclosed Analysis Of Non-Infringing Alternatives For The
                     Huawei Patents-in-Suit Should Be Stricken
 6
            On February 7, 2018, Samsung served Interrogatory No. 35 on Huawei. (Ex. O at 2.) That
 7
     interrogatory asked Huawei to “describe in detail any design-around alternatives” to the technology
 8
     claimed in the Asserted Huawei Patents. (Id.) Huawei finally responded to Interrogatory No. 35 on
 9
     March 30, 2018, three weeks after the close of fact discovery, providing nothing specific to any
10
     Asserted Huawei Patent. (Ex. P at 22.) Rather, Huawei merely stated that:
11

12

13

14
     (Id.) Huawei failed to analyze any specific design-around alternatives to the technology in the
15
     Huawei Patents-in-Suit in its response to Interrogatory No. 35. (Id.) Instead, Huawei provided
16
                                                                             without explaining where the
17
     alleged alternatives were set forth in Huawei’s 9-page response. (Id.) An analysis of Huawei’s
18
     response to Samsung’s Interrogatory No. 20 reveals
19
                                        . (See Ex. Q at 18-19
20
                 ), 21 (                       ).) While Huawei’s response to Interrogatory No. 20 does
21
     disclose
22
           , it fails to analyze any of those alternatives in detail. (See id. at 22-23, 25-26.) Huawei also
23
     stated in its response to Samsung’s Interrogatory No. 35 that
24
                                                                                                        —a
25
     massive set of potential documents. (See Ex. P at 22.) At no point in its response to Interrogatory
26
     No. 35 did Huawei even identify
27
                 , much less provide any analysis of those alternatives. (See id.)
28

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 1          Less than a month after Huawei’s bare-bones response to Samsung’s Interrogatory No. 35,

 2 Huawei’s experts identified and analyzed what they perceived to be non-infringing alternatives to

 3 each of the Huawei Patents-in-Suit—none of which were disclosed in response to Samsung’s

 4 Interrogatory No. 35—in each of their infringement expert reports. (See Ex. R ¶¶ 537-545 (’239

 5 patent); Ex. S at ¶¶ 481-500 (’892 patent); Ex. T at ¶¶ 296-309 (’587 patent); Ex. U at ¶¶ 279-284

 6 (’613 patent).) Because Huawei “violated its obligations pursuant to Fed. R. Civ. P. 26(e)(1),”

 7 Samsung’s “motion to strike and exclude evidence . . . [should be] granted.” Synthes USA , 2011

 8 WL 11709387, at *7-*8.

 9          As a result of Huawei’s failure to comply with its discovery obligations, Huawei has the
10 burden “to demonstrate that it meets one of the two exceptions to mandatory sanctions”: (1) the

11 failure was substantially justified; or (2) the failure was harmless. Apple, Inc., 2012 WL 3155574,

12 at *4. Huawei cannot meet its burden under either exception. First, the non-infringing alternatives

13 Huawei identified in its opening expert reports are all based on materials accessible to Huawei

14 throughout fact discovery, including                                produced in this case by Huawei.

15 (See, e.g., Ex. R ¶ 541; Ex. S ¶¶ 482-500; Ex. T ¶¶ 296-303; Ex. U ¶ 284.) No rationale justifies

16 Huawei’s withholding of this information, which was readily available throughout fact discovery.

17          The ensuing prejudice to Samsung, meanwhile, is substantial. By failing to disclose these

18 non-infringing alternatives in its response to Samsung’s Interrogatory No. 35, Huawei left Samsung
19 without an opportunity during the fact discovery period to explore the feasibility of these alternatives

20 as replacements for the technology claimed in the Huawei Patents-in-Suit. Samsung simply did not

21 have time to develop the facts necessary to rebut Huawei’s arguments and was therefore prejudiced

22 in its ability to explain why those alternatives are feasible substitutes for the technologies in

23 Huawei’s patents.

24          Accordingly, Samsung requests that the following discussions of non-infringing alternatives

25 in Huawei’s opening expert reports be stricken:
26                 Paragraphs 537-45 (pp. 174-77) of the “Expert Report of Dr. Veervalli [sic]
27                  Regarding Defendant Samsung Electronics Co., Ltd., Samsung Electronics America,

28                  Inc.’s Infringement of U.S. Patent No. 8,644,239” (Ex. R);

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 1                   Paragraphs 481-500 (pp. 189-98) of the “Expert Report of Dr. Veervalli [sic]
 2                    Regarding Defendant Samsung Electronics Co., Ltd., Samsung Electronics America,

 3                    Inc.’s Infringement of U.S. Patent No. 8,416,892” (Ex. S);

 4                   Paragraphs 296-309 (pp. 167-73) of the “Expert Report of Dr. Robert Akl, D.Sc.
 5                    Regarding Infringement of United States Patent No. 8,885,587” (Ex. T);

 6                   Paragraphs 279-84 (pp. 122-24) of the “Expert Report of Dr. Robert Akl, D.Sc.
 7                    Regarding Infringement of United States Patent No. 8,724,613” (Ex. U).

 8           F.       The Priority Date Analyses Disclosed In The Rebuttal ’587 and ’892 Expert
                      Reports Should Be Stricken
 9
             The Expert Report of Dr. Robert Akl, D.Sc. Regarding Infringement of United States Patent
10
     No. 8,885,587 (“Akl ’587 Infringement Report”) includes no analysis of the priority date for the
11
     ’587 patent. (See Ex. T at ii-v.) Instead, Dr. Akl withheld his analysis of the priority date for the
12
     ’587 patent until his rebuttal report on the validity of the ’587 patent. (Ex. V (“Akl ’587 Rebuttal
13
     Report”) ¶¶ 62-65.) Similarly, for the ’892 patent, the Expert Report of Dr. Veervalli [sic]
14
     Regarding Defendant Samsung Electronics Co., Ltd., Samsung Electronics America, Inc.’s
15
     Infringement of U.S. Patent No. 8,416,892 (“Veeravalli ’892 Infringement Report”) includes no
16
     analysis of the priority date for the ’892 patent. (See Ex. S at ii-iii.) Like Dr. Akl, Dr. Veeravalli
17
     withheld his analysis of the priority date for the ’892 patent until his rebuttal report on validity. (Ex.
18
     W (“Veeravalli ’892 Rebuttal Report”) ¶¶ 59-77.)
19
             Once Samsung put forth sufficient evidence in its invalidity contentions that prior art
20
     anticipates the asserted claims of the ’587 and ’892 patents, Huawei, as the party asserting that
21
     Samsung infringes those two patents, bore the burden of putting forth sufficient evidence to prove
22
     that those two patents are entitled to claim priority to an earlier filing date. See Tech. Licensing
23
     Corp. v. Videotek, Inc., 545 F.3d 1316, 1327 (Fed. Cir. 2008); see also PowerOasis, Inc. v. T-Mobile
24
     USA, Inc., 522 F.3d 1299, 1305-06 (Fed. Cir. 2008). Dr. Akl, Huawei’s expert on the ’587 patent,
25
     contends that
26
                        . (Ex. V ¶ 64.)
27

28

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 1                                                         .) Huawei was aware that Samsung would be

 2 relying on that prior art at least as early as March 23, 2018, when Samsung filed its Election of Prior

 3 Art. (Dkt. 263 at 2 (listing U.S. Patent No. 8,472,368, which is the “Baldemair” reference, by itself

 4 and in multiple combinations).) Opening expert reports were due more than a month later (April

 5 27, 2018). However, rather than including his analysis of the priority date of the ’587 patent in his

 6 opening report, Dr. Akl chose to wait until his rebuttal report. In so doing, because the schedule for

 7 this case leaves no opportunity for reply expert reports, Dr. Akl left Samsung with no opportunity

 8 to present expert opinions rebutting Dr. Akl’s opinions on the priority date of the ’587 patent.

 9          The same applies to the ’892 patent. Dr. Veeravalli, Huawei’s expert on the ’892 patent,
10 contends

11                     . (Ex. W ¶ 59.) Like Dr. Akl, Dr. Veeravalli chose to include his priority date

12 analysis for the ’892 patent in his rebuttal report, rather than his opening report, even though he was

13 aware of the prior art that Samsung would be asserting against the ’892 patent more than a month

14 before his opening report was due. (See Dkt. 263 at 1.) This left Samsung with no opportunity to

15 present rebuttal expert opinions related to Dr. Veeravalli’s analysis of the priority date of the ’892

16 patent. Accordingly, Huawei has violated its obligations under Federal Rule of Civil Procedure

17 26(a) by disclosing expert testimony related to the priority dates for the ’587 and ’892 patents at the

18 wrong time.
19          Federal Rule of Civil Procedure 37(c)(1) provides that a failure to provide information as

20 required by Rule 26(a) bars the disclosing party from using that information “to supply evidence on

21 a motion, at a hearing, or at a trial.” The only exceptions to this bar are if (1) the failure was

22 substantially justified, or (2) the failure was harmless. Fed. R. Civ. P. 37(c)(1). Huawei cannot

23 satisfy either exception in this instance. As described above, Huawei had notice of the prior art that

24 Samsung would be asserting in its opening expert reports no later than March 23, 2018, more than

25 a month before opening expert reports were due. Huawei had plenty of time to determine that the
26 priority date for some of Samsung’s asserted prior art references fell between the issue date of the
27 asserted patents and the priority dates that Huawei alleged in its infringement contentions. Huawei

28 can provide no justification for its failure to provide the analysis of the priority dates for the ’587

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 1 and ’892 patents in its experts opening reports. In addition, Huawei’s failure is not harmless. By

 2 waiting until rebuttal expert reports to disclose the priority date analysis for the ’587 and ’892

 3 patents, Huawei left Samsung with no opportunity to rebut the analysis of Huawei’s experts.

 4 Huawei has the burden of proof on this issue. Samsung rightfully should have had an opportunity

 5 to respond to the opinions of Huawei’s experts.

 6          In accordance with the foregoing, Samsung requests that the following priority date analyses

 7 in Huawei’s rebuttal expert reports be stricken:

 8                  Paragraphs 62-65 (pp. 22-29) of the “Expert Report of Dr. Robert Akl, D.Sc.
 9                   Regarding the Validity of United States Patent No. 8,885,587” (Ex. V);
10                  Paragraphs 59-77 (pp. 17-25) of the “Expert Report of Dr. Venugopal V. Veeravalli
11                   Regarding Validity of U.S. Patent No. 8,416,892” (Ex. W).

12          G.       Huawei’s Undisclosed Doctrine Of Equivalents Argument For The ’239 Patent
                     Should Be Stricken
13
            Huawei served its infringement contentions for the ’239 patent on October 25, 2018. (Ex.
14
     X at Appendix 6.) The claim chart for the asserted claims of the ’239 patent did not invoke the
15
     doctrine of equivalents. (See id.) Huawei’s cover pleading for its infringement contentions stated
16
     that “based on the information presently available to Huawei, Defendants’ Accused Products
17
     literally infringe each element of the asserted claims as set forth in these contentions.” (Id. at 8.)
18
     Huawei’s cover pleading then included boilerplate language stating that:
19
            To the extent any limitation is found or alleged not to be literally present following
20          discovery, including review of relevant source code for the Accused Products and
            complete discovery responses from Samsung, Huawei then asserts that, if any
21          differences between the claim elements and the accused systems and methods are
            found to exist, such differences are insubstantial and the accused systems and
22          methods thus infringe under the doctrine of equivalents. Huawei further reserves
            the right to amend its infringement contentions to specifically assert infringement
23          under the doctrine of equivalents in light of claim construction proceedings in this
            case.
24
     (Id.) On June 9, 2017, Huawei filed a motion for leave to amend its infringement contentions to
25
     identify additional accused products. (Dkt. 145 at 1.) Aside from that motion, Huawei made no
26
     other attempt to amend its infringement contentions in this case, including no attempt to assert
27
     infringement under the doctrine of equivalents.
28

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 1          On April 27, 2018, Huawei served the Expert Report of Dr. Veervalli [sic] Regarding

 2 Defendant Samsung Electronics Co., Ltd., Samsung Electronics America, Inc.’s Infringement of

 3 U.S. Patent No. 8,644,239 (“Veeravalli ’239 Infringement Report”). (Ex. R.) The Veeravalli ’239

 4 Infringement Report includes the opinion that

 5                                                   . (Id. at ¶¶ 254, 271, 282, 318, 338, 370.)

 6          Pursuant to the Patent Local Rules, courts in the Northern District of California routinely

 7 strike the portions of expert reports that allege equivalence under the doctrine of equivalents when

 8 the party asserting patent infringement only included boilerplate language regarding the doctrine of

 9 equivalents in its infringement contentions. See, e.g., ASUS Computer Int’l , 2014 WL 1463609, at
10 *3 (striking portions of expert reports asserting a doctrine of equivalents theory where the

11 corresponding infringement contentions only included boilerplate language stating that “to the

12 extent that any claim element is found not to be literally embodied in the Accused Instrumentalities,

13 [the party alleging infringement] contends that the Accused Instrumentalities embody such claim

14 elements under the doctrine of equivalents”); Dynetix Design Sols., Inc. v. Synopsys, Inc., 2013 WL

15 4537838, at *1 (excluding doctrine of equivalents theory that was only disclosed in a “boilerplate

16 preamble” in the infringement contentions of the party alleging infringement); MEMC Elec.

17 Materials v. Mitsubishi Materials Silicon Corp., No. C 01-4925 SBA, 2004 WL 5363616, at *6

18 (N.D. Cal. Mar. 2, 2004) (granting motion to preclude plaintiff from pursuing doctrine of equivalents
19 theory presented in expert report where plaintiff’s infringement contentions only included

20 boilerplate language about the doctrine of equivalents).

21          Like the cases cited above, Huawei’s infringement contentions include only boilerplate

22 language in the cover pleading asserting infringement under the doctrine of equivalents. (See Ex.

23 X at 8.) At no point in its infringement contentions does Huawei provide allegations under the

24 doctrine of equivalents on a limitation-by-limitation basis, as required by Patent L.R. 3-1(e). (See

25 id.) Instead, Huawei waited until after the close of fact discovery to assert in the Veeravalli ’239
26 Infringement Report that
27                . (See Ex. R ¶¶ 254, 271, 282, 318, 338, 370.)

28

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 1          The Veeravalli ’239 Infringement Report presents no justification as to why the doctrine of

 2 equivalents was only invoked                                                       after the close of fact

 3 discovery. (See id. at ¶ 254.) In waiting until this late date to raise the doctrine of equivalents as an

 4 infringement theory, Huawei has prejudiced Samsung’s ability to develop the facts and arguments

 5 necessary to rebut Huawei’s allegation. Document discovery has concluded, and the depositions of

 6 Huawei’s inventors and corporate designees were completed months ago. The boilerplate language

 7 in Huawei’s infringement contentions is “insufficient to assert a [doctrine of equivalents] theory,

 8 and [Huawei’s] experts cannot now articulate that theory at this late stage.” ASUS, 2014 WL

 9 1463609, at *3.
10          Accordingly, Samsung requests that the highlighted portions of paragraphs 254, 271, 282,

11 318, 338, and 370 of the Veeravalli ’239 Infringement Report be stricken.

12 V.       CONCLUSION
13          For the foregoing reasons, Samsung respectfully asks the Court to grant its Motion to strike

14 the aforementioned portions of Huawei’s expert reports.

15

16 DATED: July 3, 2018                             Respectfully submitted,

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23                                                    Samsung Electronics America, Inc., and
                                                      Samsung Research America, Inc.
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